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EXHIBIT A
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

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IN RE: OIL SPILL BY THE
OIL RIG DEEPWATER HORTZON
IN THE GULF OF MEXTCO ON
APRIL 20, 2010

CIVIL ACTION NO. 10-MD-2179 "J"
NEW ORLEANS, LOUISIANA
FRIDAY, JANUARY 13, 2012, 9:30 A.M.

THIS DOCUMENT RELATES TO
ALL ACTIONS

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TRANSCRIPT OF DISCOVERY STATUS CONFERENCE PROCEEDINGS
HEARD BEFORE THE HONORABLE SALLY SHUSHAN
UNITED STATES MAGISTRATE JUDGE

APPEARANCES :

FOR THE PLAINTIFFS!
LIAISON COUNSEL: DOMENGEAUX WRIGHT ROY & EDWARDS
BY: JAMES P. ROY, ESQUIRE
P. O. BOX 3668
556 JEFFERSON STREET
LAFAYETTE, LA 70502

HERMAN HERMAN KATZ & COTLAR

BY: STEPHEN J. HERMAN, ESQUIRE
820 O'KEEFE AVENUE

NEW ORLEANS, LA 70113

FOR THE PLAINTIFFS: IRPINO LAW FIRM
BY: ANTHONY IRPINO, ESQUIRE
2216 MAGAZINE STREET
NEW ORLEANS, LA 70130

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MR. WILLIAMSON: Judge, we want to stand on it because
I've kind of been told by my chiefs not to try to argue today the
merits of the, quote, expert witness pull-down.

So I don't want to splash over and start halfway
arguing that because we -~ because I cannot state to you how
vigorously my chiefs and us disagree with this whole expert
witness pull-down.

Obviously, we'll have our brief in, in accordance
with the Court's schedule; but, given that's our position, we
therefore definitely do not want to move Daubert.

I'm not fussing with the Court about what the
Court's done with respect to the defendants; but, we would,
respectfully, like to stick with the schedule we set and the
order that you referenced a couple minutes ago.

THE COURT: Jimmy, I guess, since Judge Barbier is not
going to look at these for the foreseeable future, he's got lots
on his plate for in limine, and I think Tim raises a valid issue
about showing his hand as to other motions he might be filing
against defendants, I'm going to extend the entire deadline.

I don't think that harms you guys because I don't
think Judge Barbier is going to look at the motions in the near
future anyway, meaning in the next couple of weeks.

MR. WILLIAMSON: We understand the Court's ruling.

THE COURT: Okay. Thank you.

MR. GODWIN: Judge, before we leave that subject, may

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THE COURT: Sure, Don, come on up.
MR. GODWIN: -- approach, Judge? Thank you, Your Honor.
Judge, with regard to the will-call list, I would
like to inform this morning that the attorney for Jesse Gagliano,
Mr. Josh Berman, informed me yesterday that Jesse will waive his
Fifth Amendment privilege, Your Honor, and will make himself
available for a deposition in this case, preferably, due to the
scheduling of Mr. Berman, during the first two weeks of February.
I'm prepared today to pick out two dates. He's
given me pretty much his calendar for those two weeks.
Mr. Gagliano will also waive any Fifth Amendment
privilege with regard to testifying at trial, Judge, in this MDL
matter. So if we want to pick out two dates -- is it going to be
a two-day deposition or one?
THE COURT: I'm assuming it's a two-day deposition.
MR. WILLIAMSON: Yes. I'm sorry, I didn't mean to
interrupt.
MR. GODWIN: That's what it has been on others.
I'm prepared, if the Court wants to pick out two
days now and tell Mr. Berman. Unless there is something critical
with regard to one or both days, my guess is that that will be

fine; but, the first two weeks, he told me, were pretty much

-clear for him and his client.

MR. WILLIAMSON: As the Court knows, we were vigilant

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about trying to get Mr. Gagliano. Thank you very much for the
announcement. It's the first we've heard of it.

MR. GODWIN: I just learned of it yesterday.

MR. WILLIAMSON: I'm sure that's true.

MR. GODWIN: Yes.

MR. WILLIAMSON: But, having said that, given that
Mr. Gagliano was a person who was involved on Macondo for events
that were literally happening on April 19 and 20, we want his
deposition -- we appreciate the offer, we want his deposition as
soon as possible, and we are available seven days a week to take
it.

You're right, he is a fact witness, should be
governed by the two-day rule, with the allocations -- the default
allocations; but, we can do it on the weekends.

The PSC hereby offers to do it on weekends or
whenever. We would like to get that deposition taken in January,
literally as quickly as possible. The PSC will be ready to take
his deposition literally whenever he can be produced.

MR. GODWIN: Judge, while I appreciate what Jimmy is
saying, I did just learn yesterday of Mr. Gagliano's
availability. Of course, we all know that he and all the other
folks that, with various parties, have taken the Fifth have that
right to do so.

Mr. Berman informed me the moment, he said, that

Mr. Gagliano approved it, which was yesterday, as well. There

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has been no delay whatsoever.

Due to things going on in January, and due to --
you know, we've got next week a very, very important witness.
There is a court holiday on Monday. We've got Tuesday and
Wednesday with Mr. Ron Crook. With things going on and deadlines
to be met, we feel that the first two weeks of February -- that
first week of February is certainly not but a week longer than
when Jimmy says he would like to have it in the month of January.

But, again, Judge, Mr. Berman, who is going to be
here defending the depo for Mr. Gagliano, has commitments in
January that he says necessitate he be in Washington, DC and
New York, where he offices for that period.

So we're prepared that first week of February or
second week, whatever the Court deems appropriate, to
designate -- to find two days here today.

THE COURT: Jimmy, go ahead.
MR. WILLIAMSON: I apologize, I don't mean to interrupt
the Court, but I want to make sure the Court understands.

Mr. Gagliano's testimony could potentially -- I'm
sure the Court remembers, he --

THE COURT: I know who Mr. Gagliano is.

MR. WILLIAMSON: -- was part of the Halliburton team.
THE COURT: Yes.

MR. WILLIAMSON: His testimony touches directly on

cement that's in the rat hole. It touches directly on top of

